      Case: 1:18-cr-00681 Document #: 59 Filed: 07/08/20 Page 1 of 2 PageID #:215




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 UNITED STATES OF AMERICA
                                            No. 18 CR 681
               v.
                                            Hon. Virginia M. Kendall
 MICHAEL ABRAMSON

               GOVERNMENT’S UNOPPOSED MOTION TO FILE
                       EXHIBITS UNDER SEAL

        The UNITED STATES OF AMERICA, through its attorney JOHN R.

LAUSCH, JR., United States Attorney for the Northern District of Illinois,

respectfully submits this motion to file exhibits under seal:

        1.    The indictment in this case charges defendant with false statements in

tax filings, in violation of Title 26, United States Code, Section 7206(1). R. 1. On

November 12, 2019, the Court set a trial date of September 8, 2020. R. 42.

        2.    Presently, the parties are briefing several motions in limine relating to

the admission of certain evidence and arguments at trial.         R. 50-53, 55.     The

government’s response to defendant’s motions in limine is due on July 15, 2020. R.

56.

        3.    As part of its response to defendant’s motions in limine, the government

will reference and quote from several transcripts of grand jury testimony.           In

addition, the government intends to cite to two internal business records of

defendant’s entities as well as a portion of one of defendant’s personal income tax

returns.
    Case: 1:18-cr-00681 Document #: 59 Filed: 07/08/20 Page 2 of 2 PageID #:216




      4.     Each of the aforementioned exhibits contains a great deal of material of

a sensitive nature, including personally identifiable information about defendant and

others that is too voluminous to redact.

      5.     On July 8, 2020, the government contacted defense counsel regarding

this motion and defense counsel indicated that she does not oppose the government’s

motion.

      6.     Accordingly, through this motion, the government moves for leave to file

grand jury transcripts, corporate business records, and the portion of defendant’s

personal income tax return included as exhibits to the government’s response to

defendant’s motions in limine under seal.

      WHEREFORE, the government respectfully moves this Court for leave to file

grand jury transcripts, corporate business records, and a portion of defendant’s

personal income tax return under seal as part of its response to defendant’s motions

in limine.



Date: July 8, 2020                     Respectfully submitted,


                                       JOHN R. LAUSCH, JR.
                                       United States Attorney

                                 By:   /s/ Richard M. Rothblatt
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